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Addendum to Case No. 1:2021cvO089Q6..,,. -;
Cover Page 8/24/2021

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STATES aistricy Eat

COOMBS, Terry :
Name
1439 W. Chapman Ave.

Orange, CA 92868
Address

   

UNITED STATES Se
FOR THE DISTRICT OF NE Be E

 

COOMBS, Terry
(Full Name)

KILE, Jenny;
PRESTON, Douglas;
SWIFT, Taylor:
STUEF, Jack:

COOMBS, Terry

1)
(Piaintiff)
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Continuation Count I, Supporting facts:

18. Other than Fenn Insiders & the Treasure Team with given knowledge, (a few Searchers wonder if there is a Swift
connection but have solved nothing to prove it), | am the only person in the world as of today, that fully understands
the T. Swift re-creation of the Fenn Chase & clues in lyrics, videos & the Grammy performance. 20-100 million people
or more worldwide may now be interested in learning about this treasure tale & the clues that Swift re-creates. A new
international group may become Fenn Treasure Chase fans. The Chest & contents are important beyond just a
buckskins value. The fans will not care if their Idol knew that Fenn was not playing a fair game for all. Tickets will sell-
out in seconds as always.

19. | request to use the actual Treasure as evidence. | request the Court to seize the Treasure immediately. Z. Old has
passed the Treasure to an unknown & may easily retrieve it for Court evidence. | will possibly be able the prove that
the Treasure was artificially aged at the Fenn residence in Sante Fe or in a certain town in Pennsylvania by Kile. If
chlorine, fluoride or other certain chemicals are present with the rusted items, then that is proof it was not aged in
nature but was aged with city tap water or a specific well water. The Treasure should not be further touched as an
attempt to wipe away evidence. The Treasure has potentially already been cleaned & tampered with by Defendants
Fenn, Old, Kile & Stuef. Any evidence tampering could be considered criminal.

20. If the twig from the Chest is conveniently missing, then Plaintiff cries foul, & wishes the Court to consider criminal
evidence tampering charges for Fenn, Kile, Stuef. The twig can possibly be traced back to South Dakota.

21. A pair of scissors was added to the Chest 2010-2020. Kile saw on google maps a geo-formation next to the
Treasure location & geo-India that looked like scissors. She created another geo-clue similar to the geo-India clue.
Fenn was surprised to see rusty scissors in the chest 6/7/2020. He said he didn’t remember them. Kile added the
scissors as a surprise for Fenn, but Fenn wasn't amused. Fenn knew Kile was making big mistakes with his Hunt. See
evidence page 40.

22. The scissors in the Chest is 100% proof that: Kile was in procession of the Chest between 2010 & 2020 & that
Kile was manipulating Chest contents in the years 2010-2020. She proves my allegations. She misjudged the potential
of a Real Solver existing during her clue creations. Fenn created the Blaze shape, Peak/Flutterby shape & George
Washington profile geo-formation-shape clues before 2010, & Kile added to them after 2010 with the India & Scissors
geo-formation-shape clues. Fenn let Kile get themselves caught by the one Real Solver.

23. The evidence is absolute & undeniable. Fenn & Kile are in a Fenn Chase absolute, fully solved, & documented
Partnership. Z. Old entered the Partnership after Mr. Fenn’s passing by default. This Partnership is the bia secret from
the Searcher Community & is of the upmost goal of the many knowledgeable Operatives, the workers, for the Treasure
Team, to keep this secret. It is not yet completely known how the many Operatives are being paid by the Treasure
Team. The Treasure Team is not named in this Complaint. Only J. Kile is a Fenn Partner, Insider & Treasure Team
member. She is the secret Team Leader. Many Operatives for the Team do not know themselves of the Fenn/Kile
Partnership as this secret may not ever be known or the entire Fenn Treasure Chase/Hunt will collapse as a
hoax/scam/fraud by Hoaxers/Scammers/Defrauders.

Section E. Relief

Add verbiage to Relief Requests as follows:

At the end of Relief 1: Plus, the original digital photoshop or other edit drawing file & any mock-up of the areen
rock key from San Lazaro. And the scissors with rust untampered.

At the end of Or Option 2: Plus, from the Chest, Item 1: the 1903 rusty gold clue-coin. & Item 2: the twia.
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The following evidence pages are from the collection of New Articles
written between 6/6/2020 & today. Further evidence will be presented.
Case 1:21-cv-00806-LF Document5 Filed 08/24/21 Page 4 of 39

Title to
the
Gold ©

ee tt Finke Set

 
  

 

+.

A!

a treasure hunt
te lve

es Sue

i en ie a

e Edition og

Tight © 2020 by Terry Coombs

b
ae Library of Congress gress at : og
Published Aug ust 20, 2020 tyembs1@gmail.co com |

All rights reserved. This book or any portion thereo !

    
 
  

   
    
 
  

  

ithout the express written permission of the Write

except for the use of brief quotations in a book review,

Date of first pe Article on Amazon.com, 4 P
~~ 4

June 10, 2020!, 8 | 5

  
     
    

Title to the Gold’ fi

rg

available }

    
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Poem, books, treasure chest

 
 
 
 

  

As I have gone alone in there
And with my treasures boid,

ican keep my secret where,

 
   
 

And hint of riches new and old.

  
 

 
 

Begin it where warm waters halt
And take it in the eanyon down,
Not far, but too far to walk,

Put in below the home of Brown.

   

From there it’s no place for the meek, |
The end is drawing ever nigh; |
There'll be no paddle up your creek, |
Just heavy loads and water high.

  

If you've been wise and found the blaze,

 
 

Look quickly down, your quest to cease

 
 

But tarry secant with marvel gaze,

 
 

Just take the chest and ga in peace.

 
     
 

So why ts it that I must go
And leave my trove for all to seek?

 
 

The answers I already know

 
 

Ive done it tired, and now I'm weak

 
   

  
 
 

So hear me all and listen good,
Your effort will be worth the cold.

If you ave brave and in the wood

 
 

Li give you title to the gold.

   

Be Neen gmp ao eee ne aE
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This shape, 1 call the Grea. Rock KEY1 CLUE, repeats over and over in many clues.
Find the shape in nature and you are on to something.

photoshopped. Mr. Fenn
acted like he just picked it up
at Lazaro. Released clue Au-
gust 2011.

 

 
 

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The Key Rock (look closely at the whole rock) fits into this key one e On the side of...

this natural rock formation. ies

, ,.

  
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Fenn used one of these two ledge
shapes for the Green Rock Key shape
Hint shown in red & blue.

13

 
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SWiTeRatyen Cae CoyBit Uionm Clas hae
PCr a CHU eRe Si aU LeRSCrE ULC

ledge shape.

Vy

#

 
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|
4
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1
i
f
i
\
i

 
Case 1:21-cv-00806-LF Document5 Filed 08/24/21 Page 11 of 39

  
  
   

%
ae

This cave opening shape matches:
the shape of the Rock Key. A greet
clue at Medicine | Rock.

 
 

he News Reporter in the picture may not have noticed. Fenn saw this cave sha and
it was natural so he staged the picture.

     

Ib
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a ~

Fenn at San Lazaro long ago. His arm is on a rock that matches the Rock Key shape.
reat seg work. Fenn has a great a Designe

sreen Rock Key. The rahe Rock 7 may ive been,
photoshop created from this tomahawk head. sy

i Tay
Lm ua a fl aa 1

.

 
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) Careful picture set-up by the Finders 6/6/ 2020
‘Full circle for the Green Rock Key clue.
2011 to the 2020 end of Chase.

Forrestfenntreasure.com said to look at the key and that this is a clue, It's pointed at

the rusty 1903 Lady who is looking at some nuggets that fit together ee like what
3 ie =

we have seen in clues before. The Rock Key sha
Did you barely notice that the Green Rock Key is Gari in it’s s place, in the Chest?

 

 

 
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eae =

 
|
|

—_

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‘a
ef Ey

This clue/ hint is not good work: = a Artist would have done better. So who

created the waterfall 11/15/2018 clue? a

Cl ‘ ay [6 ttink about does warn waters hal! have 19 io with

Forrest Fenn
Treasure

 

 
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1¢ photoshop bracelet clue. This bracelet docs not cxist as is.

rom Fennborrce 1

then please come forward,
ou would be in the Fenn=

Inner Circle Treasure Team

Parties to have this.aee

PSS = <= zi
How much for this
Bracelet?

 
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Fenn explaining in 2012 that this Key will change history. The Key points at an oval
tone with a replica of the Geen Roc }
Key in miniture. Fenn is pointing to two keys.

10 THE A

FLUTTERBY BRACEL

SEE ME STEALING A Mal
1906

 
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ee

     

     

a
4 <b) ae i
= 5 a
a
f

Ya

    

‘ ern Bh. S ve ee
. | The miniRockKey was filed and created by |
» Fenn. Correct location on the oval. There will be many ‘oh wow’ moments coming up.
"Again if you just i see any similarity i ¥ : |
C al

 

~ 44
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here are’
3ome other

ints here. Try
our luck,

1e second
Key has a
shape next to
it. This shape
is a common
lue some
Searchers have
orked on. ie

 
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ip A he i —
Crevice that is also the large crevice on the face of , ‘
the Turquoise Bracelet. ™=

  
 
  
  

  

 

j The Main Keyslot on the Flutterby Bracelet has a horse photoshopped in. This is to
i _ grab attention for a main clue. The Green Rock Key is shaped like a horse back. Many
animal back shapes are clues. A child can solve the poem and Chase is also a clue. The

_ Great Spirit Horse of the Plains will set you free. And it is Mr. Toad when he stold th
horse after the others searched down a river without clues and came upon their

special holy place and Spirit.
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cc Hg I

Pete ten nm ne te

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And just sitting on
the ground were he
left the Chest. He
was not planning
to go lay on the
ground and die in
some dirt and
weeds in Wyoming,
It’s silly that he felt

he had to include
such ridienlous
details about the
new narrative.

 
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‘ . \
and that is a the KEY aes, Others Re Cinderella as enters
i teathe Asticle. This is News. Cinderella knows al] about the em] pty crevice ¢ x IN,

Lb ef yd NF oA oe ACA TOT Nin Hh LEI Maia Meee

 
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htryag

MUU! Alinog

i

A AT
reer Al £7 AII6

othe

1e under key points to a Juniper book, ceremony incense, flip guide (many clues are
ipped or negative images), Cinderella (rags to riches.story), stacked investing books

1 1
*

i M

 
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Fenn estimated that 350,000 people worked on the treasure hunt over the decade,
: 3 And there was not any Fenn treasure out there in his claimed states.
Oo 9 and why does Fenn have his Inner Circle Treasure Team?
IM com will continue gro e growing the Fenn legacy for 40 ye years so they got the ay-off.

Fenn did n not tell t them s straight ou out, but they gor extra help See Wink.
2 £2 ia 2

r. Rushmore. IA i -

Po a Just after that the forrestfenntreasure.com website went live and announced that the”
‘Fenn Treasure was up for auc for auction. 4

. ' The Treasure pictures were vere taken at Mt. Rushmore Yes, Mr. Twig was picked upo
¥ | the side of a path and the rest is history. Mr. Twig said that he does not care if h
; | a ame from a backyard in PA, he identifies with Rushmore. The website went on to tell

. t f you that you were looking at a clue that had to do with the Key. The website modera-
. tor was quite sure of each move that was being made with the Treasure and clues.

 
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W.com poem for Hunt #6 in 2019.
Forrest Fenn Gold Medallion Treasure Hunt #6

—

WACO A
VY ART OGY

# BT 1 Aner

* | RecQenruaAN
Yes, thi Discover the keys to JOUR OP GREE

darn Key. break the code: nea
This poet DEPSAHDOVIETUNECMYAVAW SSommmonaieun

5 poe TA PCH 1
3 can almost paren yeanren

i s ay ee he

get you to : ronepaveovaceihe

the Fenn =
| TC location. The crevice and 2 hills, stream and resting

place and the going down. enn has never said ‘crevice’.
Many people know exactly who, when and where the
Fenn Treasure was recovered. :

Cynthia may have been the last to figure it out.

.Dal probably figured it out the day the poem was re
leased but could not go get it. He was not the chosen

Solver Finder. Too old. .

ould you bet your life now that MW.com was
cares a 7
Piinvolved in the recovery?

i - af
Your life is safe.

a
b,
I

 
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hope this News Article will serve you to let this all go if you have lots of time, energ}
and money invested. The FICTT Fenn Inner Circle Treasure Team believe that the last
8 years have been good for you and got you off the couch and into the mountains.
Chey feel absolutely no remorse for everything they have done and plan to do. You are
prateful to have treasure clue masters to guide and help you. Your treasure Gods will

   
 

   
   
 
 

 
 

I have never purchased any of the books or clues. I choose to forget all about all of
hem. Putting this together brought back the frustration of their self-righteousness

  
  
 
  
 

 
  
 

So now the FICTT will continue to grow the Legacy. They all started that years ago.

Fenn could have made it to the Library of Congress without any of his Team. He de-
serves it in my humbled opinion. After the guy from the national morning show made
he Chase famous, it probably exploded to the point that he did need help. We all may
Ihave done the same as him.

Did Forrest know everything? Maybe he was as manipulated a bit and did turn his head
a bit to the FICTT doings. Morals are an internal compass, and each have their own.

‘ at te =

on let others create clues for his Hunt /Chase. Criticism is allowed by y the Fair Use

  
   
 
 

  
   

    
  
 
 

At 80, Fenn needed help so chose some helpers. The Graphics Designer eniployed bi
Fenn would know a lot. Testimony in a Court would be fascinating. They will noth
ome after eee because I have followed the Fair Law Act. ee

os = | 7} a)
- TH) MN]
ve 1 orwa .

9/28/2018 YouTube. Cinderella was planning the willow twig clue for the Pegasure
Chest.
-

Here she only t turns one. item for everyone to see, an old board game.

_—— | —_ +i 2 oe a
Mr. Toad is a paride a at ‘Disneyland. - : y* | A
‘This a -video was supposed to be the perfect cover-up for her India created clue. That

\didn’ t work. It 3 is f forever fully understood that she knew the Treasure location, ~_

recovered the Chest, and created the India girl clue a few years later, which forever
is the proof that she did an inside fraud job against the Hunt Community. Fenn... »
Pshould have just said no and told her put it back and shut-up. \ A

Be Soll ole

Se Se eee | \

       
 
       
    
 
     

   
 
  
  
 
  
 
 

    
 

  
  
 
 

 

 
 
   
 

MW Answers: Forrest Fenn Treasure, Little Girl from india, and BOTG Question
 

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a om

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b

/ PP,
;
ie
s
The story has similarities to some of
mathe clues in the Chase. Fenn would
have kept the book in his den. So, Mr.p
ig was born and is gaining fame asf
did Mr. Toad. Once upon a time, I was!
an Engineer at Disneyland and worked
on that ride ii , &.

feo here she is telling the world that she
mfeels guilt for what she has done. It's in

ee Le Cee MRE Aue UME Sua me ie sc cae Te ie newt mele: (egee ce Tesete we he story, Blondie may not even realize
that she is subconsciously condemning
herself, She has put herself on tnterna-
tional trial, ss
“The Wind in the Willows,” first published in 1908, is a lovely tale by Kenneth Grahame of camaraderie,
friendship and overcoming greed and excess.

Categories: crteainrtent, News

The beloved children’s novel features four anthropomorphized animals - a mole, water vole, badger and toad
~ who become close friends as the toad overcomes his selfish, greedy behavior that previously led him to do

things such as steal.

| For more than a century, the story's message has been clear to the children who read it. it's the message of
countless children’s stories: be kind to your fellow man.

| Adrian Greenwood, of Oxford, owned a rare first-edition copy of the book, valued at $64,000.

Michael Danaher tortured him and stabbed him more than 30 times, killing him in order to steal the book, the
very one preaching kindness, police say.

What's more, Danaher took a selfie of his blood-splattered beard and had plans to rob and kidnap actress Kate

a Tv a Simon Cowell and author es aed = as eit =:

tn 2003 The Wind in the Willows was listed at #16 in the BBC's survey The Big Read.!"! More than a century after its criginal publication, it was adapted again for
the stage, as a 2074 musical by Julian Fellowes, In his preface, A. A. Mllne writes,

One can argue over the merits of most books, and in arguing understand the point of view of one’s opponent. One may even come to the conclusion
that possibly he is right after all. One does not argue about The Wind in the Willows. The young man gives it to the girl with whom he is in love, and if
she does not like if, asks her to return his letters. The older man tries it on his nephew, and alters his will accordingly. The book is a test of character.
We carit criticize il, because il 's oriticizing us. ... tis a Household Book; a book which everybody in the household loves, and quotes continually: A
book which is read aloud to every new quest and is regarded as the touchstone of his worth, But | must give you one word of warning. When you sit
down to ff, don't be se ridiculous as suppose that you are sitting in judgement on my taste, or on the art of Kenneth Grahame, You are metely sitting in
judgment on yourself. You may be worthy: ! don’t know. But itis you who are on tral 2

 
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‘fa

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a WIND INTHE ne"
WILLOWS _ “ez

 
Case 1:2

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find im the Willows 1968 LP (Futh Adbum) - Debbie Harry Blondie Rarity
\9R, TER viever - Tie 26, 2075 vile atk 109

a , RaresiRecords

_ ie sulacribers

im 1966 “Blondies Debbie Harry was plying her trade with Psych FoIX Band ‘Wind in the Viiows -

the UK Pressing of this LP is incredibly hard ta timel today. Just io edd spice te the video | have
added in some of the rare single releases associated with this LF: See my other you tube videos of
obscure recorc releases. “There 1s fut One Truth, Daddy is @ personat favourtie of nine which
sums up all that was great about the “Flawer Power era.

Blondie. Blondie is telling us that she is it

Side 1

ee the Willow Band and understands all of th

3. So Sad (To Watch Good Love Go Bad) Willow clues. Blondie Bast Coast officiall

&, Wily Uncie Usect To Love Me But She Died . 4 ‘ os he

5. There ts But One Truth. Daddy ties herself to the Bracelet, Navajo Peak

F the theta Mori with Mr. Toad. And a Willow twig placed b
foes her in the Treasure Chest. Other clues are .
ea cee 2 on this Bracelet. Are you a bit surprised byf :
FI e's Fantaslic cd She's ¥ 5 ‘ = .

S wheelorchanges all of the clues, solves and evidence? I was.

Wind in the Willows an American band whieh inciuded Deborah Harry as & vocalist. The band took | Lh ra ; a

in the Willows, a classic of chifdren’s

its mame from British writer Kenneth Grahame's, The Wind

fesh

 

FS PE a IES AAD mR ae emer 9

a
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Swifty’s prop of wood has part key slot and
in the design. Genius.. not an accident

 
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e}',’ @)! = eri Le _e

 

saxuleen

There is the wood prop CLUE in the cardigan
video. She takes her prop CLUE down for the
willow video. And looks directly at it so that it
will maybe catch your eye. Taylor is officially
in the clue business, Penn Chase hints/clues
ave allover the Folklore & Fivermore lyrics &
fideos, literally hundreds. That is a FUL

lows Article extravaganza. Mucho gracias mi

 
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I first published my Twiggy legs and
posterior joke, that she matched the
shape of the Green Rock Key in July

This video CLUE by Ms. Swift was
published on the willow Elvira CLUE
video December 2020. She is reading
many mind or she had it first and I’m at
the other end of her golden glowing
rope, to her life changing destiny
meman. Hey, it worked for Elon. And ;
White Witch is good times.
fwe { was in the West and she is doing
mencr creating in the East and finding
some wooded areas for videos. Sadly
mnot Navajo Peak, But it appears that
she has been there with Fenn. I did

fioose rocks ritual marking next to the
i, a a
/ CFEVICe.J

 
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a i *

SCM aw ihy sO MAOMARR |
Moe eet biiesis\c | ROOTES
HIRE ec r BMO Me vec |
ers to try to solve the farce. Somvé Bees don’t know

they are being played..

 
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2, i A
Rai

r

rey
7 A) ry .

a we ! sd 4
a” 4 y

usd sliding down at Fenn’s angle on live TV is my high-
et of the Chase. Lhave slid down into the crevice miny

ies. She didn’t take his advice hint either anchgw in with.
alee aT f the tree, face down repelling,

:

 
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The hand from the Irma Hotel web-
site is part of the fake Wy. Solve
made up by Jenny so save her from
doom. An oval shaped rock too.

"
"7

Someone is setting up the Fenn / Jack pics very carefully. Huh, Dan Barbosi is there too, We
knew Dan would be a fraud. Guess who is setting up the shots to make new hints and clues for
us dummies. If it is Dan, then he is on the Fenn Treasure Team now.

 
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Several at- ra 5

tempts at
hints in
this pic-
tire. The
frog thing
is against
an oval. Is
this Chase
aver now?
Of course,
1 a book

about the
Chase with
zero proof

| of Jack be-
ing the real if
Finder/Sol S —— '

WV

ver.

 

Whe placed the mouse against the Oval juct in Mr. Toads place. ‘these people are so smart Fhey~ Ea
| should have had Taylor Swift set this up. She is way beyond these amateurs. Oh, they can’t afford [i
Miss Americana for the non-sense. Readers can now find other hints in the pictures.

Barbarisos bookease

* » | has the twin peaks and
| FE. | puinlers to it. Gee, |
mu" = thanks Dan. Is_ this
r . ‘

 

hired hand by the
Treasure Team a
Shmuck?

The Oval eyeball of Mr.
_| Toad has the crevice on
<=) it just like our old friend
= lle Flutlerby Bracelel.
May 25, 2021 Maybe
this 6% News Article is
| the last. I see you Gosty.
Hey, did you talk to
Fenn there in your di-
mension fur Us? A good
« question is why did he

hire such dumb blondes
to fionre ant hnw tn save

nel
SS a

*

 
